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A0 245B (Rev. 11/16) Judgment in aCriminal Case
           Sheet 1



                                       United States District Court
                                                  District Of South Dakota, Western Division

               UNITED STATES OF AMERICA                                             JUDGMENT IN A CRIMINAL CASE
                                  V.



                           Daniel Hess                                              Case Number:           5:15CR50135-1

                                                                                    USM Number:            14837-273

                                                                                    Erin Bolinger
                                                                                    Defendant's Attorney
THE DEFENDANT:

I pleaded guilty to count(s)       2 and 10 ofthe Indictment.

□ pleaded nolo contendere to count{s)
                                                                                            FILED
    which was accepted by the Court.                                                        MAY 1 6 2017.
□ was found guilty on count(s)
    after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                              Nature of Offense                                                     Offense Ended            Count
I8U.S.C. §§ 113(a)(1), 1152, and 2           Assault with Intent to Commit Murder                                   10/17/2015                2


18U.S.C. §§ 113(a)(6), 1152, and 2           Assault Resulting in Serious Bodily Injury                            10/17/2015                 10




The defendant is sentenced as provided in pages 2 through 7 of this Judgment. The sentence is imposed pursuant to the Sentencing Reform
Act of 1984.

□ The defendant has been found not guilty on count(s)

   Count(s)     1, 5, 7, 9, and 13 of the Indictment as they relate to the defendant                are dismissed on the motion of the United States.


It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence, or
mailing address until all fines, restitution, costs, and special assessments imposed by this Judgment are fully paid. If ordered to pay
restitution, the defendant must notify the Court and United States attorney of material changes in economic circumstances.

                                                                         05/15/2017
                                                                         Date of Imposition of Judgment




                                                                         Signatur




                                                                        Jeffrev L. Viken. Chief Judge
                                                                        Name and Title of Judge
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AO 245B    (Rev. 11/I6) Judgment in Criminal Case
           Sheet 2 — Imprisonment


DEFENDANT:                      Daniel Hess
CASE NUMBER:                    5:15CR50135-1



                                                             IMPRISONMENT


     I      The defendant is hereby committed to the custody ofthe United States Bureau ofPrisons to be imprisoned for a
           total term of:      Count 2:240 months and Count 10: 120 months, consecutive



     □      The Court makes the following recommendations to the Bureau of Prisons:




     I      The defendant is remanded to the custody of the United States Marshal.

     □      The defendant shall surrender to the United States'Marshal for this district:

          □      at                                 □   a.m.   □     p.m.     on

          □      as notified by the United States Marshal.


     □      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          □      before 2 p.m. on

          □      as notified by the United States Marshal.

          □      as notified by the Probation or Pretrial Services Office.

                                                                   RETURN

Ihave executed this Judgment as follows:




          Defendant delivered on                                                        to

at                                                  ,with a certified copy of this Judgment.


                                                                                                  UNITED STATES MARSHAL



                                                                             By

                                                                                               DEPUTY UNITED STATES MARSHAL
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AO 245B   (Rev. 11/16) Judgment in a Criminal Case
          Sheet 3 — Supervised Release

DEFENDANT:                   Daniel Hess
CASE NUMBER:                  5:15CR50135-1

                                                        SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of:              Counts 2 and 10: 3 years on each count, concurrent.

                                                     MANDATORY CONDITIONS
 1. You must not commit another federal, state, or local crime.
2. You must not unlawfully possess a controlled substance.
3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
          □         The above drug testing condition is suspended, based on the court's determination that you
                    pose a low risk of future substance abuse. (Check, if applicable.)
4.   ■ You must cooperate in the collection ofDNA as directed by the probation officer. (Check, if applicable.)
5. □ You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
     directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which you reside, work,
          are a student, or were convicted of a qualifying offense. (Check, if applicable.)
 6. □ You must participate in an approved program for domestic violence. (Check, if applicable.)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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          Sheet 3A—Supervised Release


DEFENDANT:                 Daniel Hess
CASENUMBER:                5:I5CR50135-1

                                        STANDARD CONDITIONS OF SUPERVISION
 As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
 because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
 officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

 1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
    release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
     frame.

 2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
    when you must report to the probation officer, and you must report to the probation officer as instructed.
 3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
     court or the probation officer.
 4. You must answer truthfully the questions asked by your probation officer.
 5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
    arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
    the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
     hours of becoming aware of a change or expected change.
 6. You must allow the probation officer to visit you at reasonable times, at your home or elsewhere, and you must permit the probation
    officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
 7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
    doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
    you from doing so. If you plan to change where you work or anything about your work(such as your position or your job
    responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
    days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming
     aware of a change or expected change.
 8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
    convicted ofa felony, you must not knowingly communicate or interact with that person without first getting the permission ofthe
     probation officer.
 9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
 10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
     designed, or was modified for, the specific purpose ofcausing bodily injury or death to another person such as nunchakus or tasers).
 11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
     first getting the permission ofthe court.
 12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
     require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
     person and confirm that you have notified the person about the risk.
 13. You must follow the instructions ofthe probation officer related to the conditions of supervision.


U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy ofthis judgment
containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised Release
Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                      Date
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AO 245B     (Rev. 11/16)Judgment in a Criminal Case
            Conditions of Supervision


DEFENDANT:                  Daniel Hess
CASE NUMBER:                5:15CR50135-1


                                         SPECIAL CONDITIONS OF SUPERVISION


    1. You must not consume any alcoholic beverages or intoxicants. Furthermore, you must not frequent establishments whose
          primary business is the sale of alcoholic beverages.
                                                                                                       4




   2. You must submit a sample of your blood, breath, or bodily fluids at the discretion or upon the request ofthe probation office.

   3. You must submit to a warrantless search of your person, residence, place ofbusiness, or vehicle, at the discretion ofthe
          probation office.
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AO 245B (Rev. 11/16) Judgment in a Criminal Case
           Sheet 5 — Criminal Monetary Penalties


 DEFENDANT:                         Daniel Hess
 CASE NUMBER:                       5:15CR50135-1

                                                   CRIMINAL MONETARY PENALTIES

      You must pay the total criminal monetary penalties under the Schedule ofPayments on Sheet 6.
                     Assessment                      .TVTA Assessment*       Fine                         Restitution
 TOTALS              $200                            Not Applicable          Waived                       Deferred

 I      The determination ofrestitution is deferred for 90 days.
        An Amended Judgment in a Criminal Case(A0245C) will be entered after such determination.

 □       You must make restitution (including community restitution) to the following payees in the amount listed below.
        If you make a partial payment, each payee shall receive an approximately proportioned payment unless specified otherwise m the
         priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
         before the United States is paid.

 Name ofPavee                                               Total Loss**            Restitution Ordered                Priority or Percentage




  TOTALS


  □      Restitution amount ordered pursuant to Plea Agreement $
  □       You must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
          fifteenth day after the date of the Judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
          to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
  □       The Court determined that you do not have the ability to pay interest and it is ordered that:
          □      the interest requirement is waived for the      □    fine    □      restitution.
                                                                                                                   V


          □       the interest requirement for the     □      fine    □      restitution is modified as follows:


   * Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.                                                                        j
   ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A,and 113A ofTitle 18 for offenses committed o
   or after September 13,1994, but before April 23,1996.
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 A0245B    (Rev. 11/16)Judgment in a Criminal Case
           Sheet 5 — Schedule of Payments


  DEFENDANT:                        Daniel Hess
  CASE NUMBER:                      5:15CR50135-1



                                                          SCHEDULE OF PAYMENTS
  Having assessed your ability to pay, payment ofthe total criminal monetary penalties is due as follows:
  A    ■     Lump sum payment of$ 200                            due immediately, balance due

            □      not later than                                     ^ or
            □      in accordance with       □        C,   □      D,     □      E, or □        F below; or

 B     □     Payment to begin immediately (may be combined with                DC,          □ D, or          □ F below);     or



 C    □     Payment in equal
                                                     (e.Z: y^eekly, monthly, quarterly) installments of $
             to commence                                               (e.g., 30 or 60 days) after the date of this Judgment; or
 D    Q     Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $
            to commence                                                (e.g.. 30 or 60,days) after release from imprisonment to a
            term of supervision; or

 E    □
            Payment of the total restitution and other criminal monetary penalties shall be due in regular quarterly installments of 50% of the
            deposits m the defendant's inmate trust account while the defendant is in custody, or 10% of the defendant's inmate trust account
            while seiwmg custody at a Residential Reentry Center. Any portion of the monetary obligation(s) not paid in full prior to your
            release fi-om custody shall be due in monthly installments of $ , such payments to begin days following your release.

 F    □     Special instructions regarding the payment of criminal monetary penalties:



Unless the Court has expressly ordered otherwise, if this Judgment imposes imprisonment, payment of criminal monetary penalties is due
durmg the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Fmancial Responsibility Program, are made to the clerk of the court.

You shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
□      Joint and Several
       Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount, Joint and Several Amount
       and corresponding payee, if appropriate.


D      You shall pay the cost of prosecution,
d      You shall pay the following court cost(s):
□      You shall forfeit your interest in the following property to the United States;

Payment shall be applied m the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fme principal,
(5) fme interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
